          Case 3:14-cr-00172-KIN THE
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  UNITED STATES OF AMERICA                           r--··-'§·-···~·-·---.


  vs.                                                I JJ~ r_ 4 [014                   ASE NO.: 3:14-CR-172-K (02)
                                                             §
  RICTA VIOUS JAMAL BUTLER




          RICTAVIOUS JAMAL BUTLER, by consent, under authority ofUnited States v. Dees, 125 F.3d 261 (5th
  Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to the One Count
  Indictment, filed on April22, 2014. After cautioning and examining Defendant Rictavious Jamal Butler under oath
  concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and
  voluntary and that the offense charged is supported by an independent basis in fact containing each of the essential
  elements of such offense. I therefore recommend that the plea of guilty be accepted, and that Defendant Rictavious
  Jamal Butler be adjudged guilty of Bank Robbery and Aiding and Abetting, 18 USC§ 2113(a) and (d) and (2),
  and have sentence imposed accordingly. After being found guilty of the offense by the district judge,

/ ' The defendant is currently in custody and should be ordered to remain in custody.

  0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear
          and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
          community if released.

          D       The Government does not oppose release.
          D       The defendant has been compliant with the current conditions of release.
          D       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                  other person or the community if released and should therefore be released under § 3142(b) or (c).

          D       The Government opposes release.
          D       The defendant has not been compliant with the conditions of release.
          D       Ifthe Court accepts this recommendation, this matter should be set for hearing upon motion of the
                  Government.

  D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless ( 1)(a) the Court finds there
          is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
          recommended that no sentence of imprisonment be impose or (c) exceptional circumstances are clearly
          shown under § 3145(c) why the defendant should not            d tained, and (2) the Court finds by clear and
          convincing evidence that the defendant is not likely )fle or pose a danger to any other person or the
          community if released.

          Signed June 24, 2014




                                                        NOTICE

            Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
  of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
  States District Judge. 28 U .S.C. §636(b )(I )(B).
